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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                                Chapter 11

 In re:                                                         Case No. 22-19361 (MBK)

 BlockFi Inc., et al.,                                          (Jointly Administered)

                            Debtors. 1


                                          AFFIDAVIT OF SERVICE

        I, Thomas Evangelista, depose and say that I am employed by Kroll Restructuring
 Administration LLC (“Kroll”) 2 , the claims and noticing agent for the Debtors in the above-
 captioned chapter 11 cases.

        At my direction and under my supervision, employees of Kroll caused Notices of Defective
 Transfer of Claim, to be served via First Class Mail on the date and upon the Transferor and
 Transferee, as set forth on the Defective Transfer Service List attached hereto as Exhibit A.


 Dated: August 2, 2024
                                                                                    /s/ Thomas Evangelista
                                                                                      Thomas Evangelista

 State of New York
 County of New York


 Subscribed and sworn to (or affirmed) before me on August 2, 2024, by Thomas Evangelista,
 proved to me on the basis of satisfactory evidence to be the person who appeared before me.

 /s/ OLEG BITMAN
 Notary Public, State of New York
 No. 01BI6339574
 Qualified in New York County
 Commission Expires April 4, 2028



 1
   The Debtors in these chapter 11 cases, and the last four digits of each Debtor’s federal tax identification number, as
 applicable, are as follows: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi
 Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
 LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
 address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
 2
   On March 29, 2022, Prime Clerk LLC changed its name to Kroll Restructuring Administration LLC.
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                                       Exhibit A
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                                                   Exhibit A
                                       Defective Transfer Service List
                           Served via First Class Mail on the Date Set Forth Below



    Docket #                Transferor                           Transferee          Date of Service

                                                          Grand Teton Systems Inc
                           Name on File                    Attn: Michael Bottjer
      2342                                                                            July 26, 2024
                          Address on File                     1509 Bent Ave.
                                                           Cheyenne, WY 82001




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